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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Pharmaceutical Research & Manufacturers
 of America, et al.,

                             Plaintiffs,

       v.                                      Case No. 1:20-cv-03402-TJK

 U.S. Department of Health and Human
 Services, et al.,

                             Defendants.


  [Proposed] Order Granting Parties’ Joint Motion for Entry of a Scheduling Order


    For good cause shown, the Parties’ joint motion for entry of a scheduling order is

GRANTED. Defendants shall respond to the First Amended Complaint on or before

August 27, 2021.

    If Defendants file a motion to dismiss the First Amended Complaint under Rule

12(b), Plaintiffs’ opposition to Defendants’ motion to dismiss shall be due on or before

September 30, 2021; and Defendants’ reply in support of their motion shall be due on or

before October 28, 2021.

    SO ORDERED.


    Dated: ___________________               __________________________________
                                             Timothy J. Kelly
                                             United States District Judge
